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                                UNITED STATES DISTRICT COURT                                         7/17/20
                               SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                       v.                                      Case No. 18 Cr. 224 (AJN)

ALI SADR HASHEMI NEJAD,

                       Defendant.




                                              ORDER

       Defendant Ali Sadr Hashemi Nejad has moved for a new trial (Dkt. 336), arguing that the

Government’s multiple suppressions of exculpatory evidence violated his right to a fair trial under

Brady v. Maryland, 363 U.S. 83 (1963), and progeny (id. at 48-105), and that the Government’s

case was recklessly false (id. at 105-07; see also id. at 7-13, 32-35; Dkt. 346, at 6-15). On May 14,

2020, this Court ordered the government to file its opposition by June 5, 2020, and stated that

“failure to timely oppose by the Government will result in the Court deeming Mr. Sadr’s motions

unopposed.” Dkt. 338.

       On June 5, 2020, the Government filed a letter seeking an order of nolle prosequi of the

Indictment against Mr. Sadr. In its letter, the Government acknowledged the “disclosure-related

issues that arose during the March 2020 trial as well as in pre- and post-trial motion practice,

including with respect to pretrial suppression litigation,” and “recogni[zed] that Sadr would have

pursued different investigative, litigation, and trial strategies had the disclosures been made.” Dkt.

348. The Government stated it “has determined that it would not be in the interests of justice to

further prosecute this case.” Id.




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        In light of the Government’s failure to oppose Sadr’s motion for a new trial, the Court will

grant the motion. The verdict in the case is therefore vacated. See Federal Rule of Criminal

Procedure 33(a). In addition, in light of the Government’s determination “that it would not be in

the interests of justice to further prosecute the case,” the Court will dismiss the case with prejudice.

There was never a judgment of conviction in this case. The jury’s verdict is vacated, and has no

legal effect.

        Sadr’s new trial motion is GRANTED. The government’s application for an order of nolle

prosequi, construed as a motion to dismiss with prejudice under Federal Rule of Criminal

Procedure 48(a), is GRANTED. The verdict is hereby vacated and the indictment is hereby

dismissed with prejudice. See Rule 48(a).

        IT IS SO ORDERED.


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                                                        Alison J. Nathan
                                                        United States District Judge

Dated: July 17, 2020
New York, New York




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